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                      Exhibit $
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                               UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

GREGORY GREENE and JOSEPH LACK,
individually and on behalf of all others
similarly situated,

                           Plaintiffs,                       Case No. 1:14-cv-01437

v.                                                           Judge Gary Feinerman
                                                             Magistrate Judge Susan Cox
MIZUHO BANK, LTD., a Japanese financial
institution, and MARK KARPELES, an
individual,

                           Defendants.


               MIZUHO BANK, LTD.’S SECOND SUPPLEMENTAL RESPONSE
                  TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES

          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and Rule 33.1 of the

Local Civil Rules of the United States District Court for the Northern District of Illinois,

Defendant Mizuho Bank, Ltd. (“Mizuho”), by and through its undersigned attorneys, hereby

further supplements its responses and objections to the plaintiffs’ first set of interrogatories,

dated December 22, 2015 (the “Interrogatories”).1

                                         RESERVATION OF RIGHTS

          Mizuho incorporates by reference its reservation of rights as stated in Mizuho Bank

Ltd.’s Responses and Objections to Plaintiffs’ First Set of Interrogatories, dated January 25, 2016

(the “Responses”), and Mizuho Bank Ltd.’s Supplemental Response to Plaintiffs’ First Set of

Interrogatories, dated April 22, 2016 (the “First Supplemental Response”). Mizuho also reserves

the right to modify, correct, or further supplement its responses herein. Mizuho’s responses to

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      Defined terms shall have the same meaning as they do in the Responses and First Supplemental Response
      unless otherwise noted herein.
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case, Mt. Gox), identified Mizuho as the beneficiary’s bank and supplied the necessary bank

identification code for Mizuho.

INTERROGATORY NO. 8:

        State the date on which You stopped processing wire withdrawal requests for or on behalf
of Mt. Gox and/or Mt. Gox Customers, Describe with specificity Your reason(s) for doing so,
Identify the persons involved in this decision, and Describe the steps You took to implement this
decision.

RESPONSE TO INTERROGATORY NO. 8:

       Mizuho objects to this Interrogatory to the extent it seeks information protected by

Japanese Data Privacy Laws. Mizuho further objects to this Interrogatory on the ground that it

contains multiple discrete subparts that, when considered with the other Interrogatories, would

exceed the plaintiffs’ limit of twenty-five interrogatories. Mizuho further objects to this

Interrogatory to the extent it seeks information protected by the attorney-client privilege, the

attorney work product doctrine, and other legally cognizable privilege or protection. Mizuho

further objects to this Interrogatory to the extent it seeks information that is more easily obtained

by deposition or by reviewing documents produced by Mizuho.

       Subject to and without waiving any of its objections, and based on information currently

known and available to Mizuho, Mizuho responds to Interrogatory No. 8 as follows:

       In the spring of 2013, Mizuho became concerned about reports that U.S. authorities were

investigating Mt. Gox for business dealings related to money laundering. Around the same time,

certain banks contacted Mizuho with concerns about transactions related to Mt. Gox. Based on

these and similar concerns, Mizuho evaluated whether it could close Mt. Gox’s account by

compulsion, but it determined that it did not have a legal basis to do so because it did not have

evidence that Mt. Gox had violated any laws, regulations, or public customs or order (“koujo-




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ryozoku” in Japanese). Absent such evidence, Mizuho was concerned that Mt. Gox would sue

Mizuho for any losses it suffered based on Mizuho’s unilateral closure of Mt. Gox’s account.

       On or about June 17, 2013, representatives of Mizuho met with representatives of Mt.

Gox to request, among other things, that Mt. Gox (i) stop asking Mizuho to process outbound

cash wire transfers and (ii) stop designating Mizuho as its beneficiary bank. During the meeting,

Mt. Gox also informed Mizuho that it was in the process of opening new accounts with

additional banks. Following this meeting, Mt. Gox complied with Mizuho’s request and stopped

sending Mizuho requests to process outbound cash wire transfers. The meeting was attended by

individuals from Mizuho and Mt. Gox, including Hirotaka Shimizu, Shinji Akiyama, and Hiroaki

Aikawa from Mizuho, and Mark Karpeles and Aki Utaki from Mt. Gox.

INTERROGATORY NO. 9:

       Identify each wire deposit including the date and amount You accepted for or on behalf
of Mt. Gox and/or Mt. Gox Customers after the date on which You stopped processing wire
withdrawal requests for or on behalf of Mt. Gox and/or Mt. Gox Customers.

RESPONSE TO INTERROGATORY NO. 9:

       Mizuho objects to this Interrogatory to the extent it seeks information protected by

Japanese Data Privacy Laws. Mizuho further objects to this Interrogatory because “processing”

is vague and ambiguous and undefined. Mizuho further objects to this Interrogatory to the extent

it seeks information irrelevant to the subject matter of the Action. Mizuho further objects to this

Interrogatory to the extent it seeks information that is more easily obtained by deposition or by

reviewing documents produced by Mizuho. Mizuho further objects to this Interrogatory because

it seeks discovery that is not proportional to the needs of the case, considering the importance of

the discovery in resolving the issues, and because the burden and expense of the proposed

discovery outweigh its likely benefit.




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                                            MIZUHO BANK, LTD.

                                            By:        /s/ Jeffrey J. Resetarits
                                                       One of Its Attorneys


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Dated: November 11, 2016




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                                CERTIFICATE OF SERVICE

       I, Jeffrey J. Resetarits, an attorney, hereby certify that on the 11th day of November,

2016, I caused Defendant Mizuho Bank, Ltd.’s Second Supplemental Response to Plaintiffs’

First Set of Interrogatories to be served by causing true and accurate copies of such paper to be

transmitted via USPS and electronic mail to all counsel of record.


                                         /s/ Jeffrey J. Resetarits
